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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
Grumpy Cat LIMITED, an Ohio Limited Liability Entity,                   CASE NUMBER:

                                                                                              8:15-cv-02063-DOC-DFM
                                                    PLAINTIFF(S),
                                  v.
GRENADE BEVERAGE LLC, a California Limited
Liability Company; et al.                                                                 NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                          Grumpy Beverage, LLC and Paul Sandford                      hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              G Order (specify):
 G Conviction and Sentence
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       ✘ Judgment (specify): +6%(.&/5"("*/45%&'&/%"/54
                                                                        G
 G Interlocutory Appeals                                                                            (36.1:#&7&3"(&--$"/%
 G Sentence imposed:                                                                                1"6-4"/%'03%	%,5

                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on              June 8, 2018           . Entered on the docket in this action on June 8, 2018                               .

A copy of said judgment or order is attached hereto.


July 3, 2018
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
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                             EXHIBIT A
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                                                                           #:2140



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  7

  8   Attorneys for Plaintiff and Counterdefendant
      GRUMPY CAT LIMITED
  9
                               UNITED STATES DISTRICT COURT
 10
            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 11
      GRUMPY CAT LIMITED, an Ohio                    Case No: 8:15-cv-02063-DOC-DFM
 12   Limited Liability Entity,
 13                                                  JUDGMENT AGAINST
                  Plaintiff,                         DEFENDANTS
 14                                                  GRUMPY BEVERAGE, LLC
            vs.
 15                                                  AND PAUL SANDFORD
      GRENADE BEVERAGE LLC, a
 16
      California Limited Liability Company;
 17   PAUL SANDFORD, an individual;
      NICK SANDFORD, an individual; and
 18   DOES 1-50,
 19               Defendants.
 20                                                  Case filed:   December 11, 2015
      PAUL SANDFORD, an individual;                  FPTC:         December 18, 2017
 21   NICK SANDFORD, an individual; and              Trial date:   January 16, 2018
      GRUMPY BEVERAGE, LLC, a Texas                  Judge:        Hon. David O. Carter
 22   Limited Liability Company,
 23
                  Counterclaimants,
 24
            vs.
 25
      GRUMPY CAT LIMITED, an Ohio
 26   Limited Liability Entity; and ROES 1-5,
 27
                  Counterdefendants.
 28



                                        JUDGMENT
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  1                                       JUDGMENT
  2         On January 22, 2018, a jury returned a verdict in favor of Plaintiff Grumpy Cat
  3   Limited (“Plaintiff”) in this action. On May 31, 2018, the Court issued findings of
  4   fact and conclusions of law on all remaining, non-abandoned, causes of action.
  5         Because all claims and counterclaims in this action have now either been
  6   resolved or abandoned by the parties, and upon a finding by the Court that it is just,
  7   judgment shall hereby issue and be entered against Defendants GRUMPY
  8   BEVERAGE, LLC (“Grumpy Beverage”) and PAUL SANDFORD (collectively,
  9   “Defendants”), as follows:
 10         (1)   Grumpy Beverage is liable to Plaintiff for copyright infringement, and is
 11               ordered to pay Plaintiff statutory copyright damages in the amount of
 12               Two Hundred Thousand Dollars ($200,000.00);
 13         (2)   Paul Sandford is liable to Plaintiff for copyright infringement, and is
 14               ordered to pay Plaintiff statutory copyright damages in the amount of
 15               Thirty Thousand Dollars ($30,000.00);
 16         (3)   Grumpy Beverage is liable to Plaintiff for trademark infringement, and is
 17               ordered to pay Plaintiff statutory trademark damages in the amount of
 18               Four Hundred Fifty Thousand Dollars ($450,000.00);
 19         (4)   Paul Sandford is liable to Plaintiff for trademark infringement, and is
 20               ordered to pay Plaintiff statutory trademark damages in the amount of
 21               Thirty Thousand Dollars ($30,000.00);
 22         (5)   Grumpy Beverage is liable to Plaintiff for breach of contract, and is
 23               ordered to pay Plaintiff nominal damages in the amount of One Dollar
 24               ($1.00);
 25   ///
 26   ///
 27   ///
 28
                                        1
      _____________________________________________________________________
                                    JUDGMENT
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  1        (6)   Plaintiff is awarded post-judgment interest on all unsatisfied amounts
  2              owed by Defendants under this Judgment, as well as recovery of all costs
  3              and fees incurred in execution of, enforcement and collection of this
  4              Judgment.

  5        IT IS SO ORDERED.
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  7   DATED:     June 8, 2018
  8                                       Honorable David O. Carter
                                          United States District Court Judge
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      _____________________________________________________________________
                                    JUDGMENT
